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                                         EXHIBIT G

          Schedule of Hours Worked and Aggregate Fees for Each Matter Category



                          Matter                             Total Billed Hours   Total Fees
  ADV. PROC. 17-219, 17-220 – ALTAIR v. ERS                                 8.60     $8,354.00
  ADV. PROC. 17-155, 17-156, 17-159 AMBAC; ASSURED                          0.30       $199.50
  CASE ADMINISTRATION/MISCELLANEOUS                                       234.10   $174,198.50
  CHALLENGES TO PROMESA                                                    28.40    $31,098.50
  CLAIMS ISSUES                                                             6.20     $6,311.50
  COMMITTEE GOVERNANCE AND MEETINGS                                        63.60    $72,465.50
  COMMUNICATIONS WITH RETIREES                                             16.30    $18,926.00
  COURT HEARINGS                                                           22.90    $24,902.50
  ECONOMIC AND DISASTER RECOVERY ANALYSIS                                   1.40     $1,715.00
  EMPLOYMENT OF PROFESSIONALS (JENNER)                                     48.90    $39,890.50
  ERS BOND ISSUES                                                       1,596.50 $1,218,443.50
  FEE APPLICATION AND STATEMENTS                                           56.10    $39,876.50
  FISCAL PLAN/PLAN OF ADJUSTMENT                                          443.40   $486,203.00
  GO BONDS ISSUES                                                          13.30    $12,053.00
  MEDIATION                                                                 9.20     $9,595.00
  PENSION ANALYSIS                                                          0.20       $245.00
  PREPA                                                                     0.80       $980.00
  NON-WORKING TRAVEL TIME                                                  88.40    $90,666.00
  Sub-Total*                                                            2,638.60 $2,236,123.50
  Less 15% Fee Discount on all matters (except Non-Working Travel)                 $321,818.77

  Less 50% Discount on Non-Working Travel                                          $45,333.00

  Total                                                                         $1,868,971.73
